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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 NO. 4:08CR00296-02 JLH

JOSE FAUSTINO ORELLANA-CASTRO                                                     DEFENDANT


                                            ORDER

       The government has filed a motion to dismiss the indictment against Jose Faustino Orellana-

Castro pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure. The motion is

GRANTED. Document #68. The indictment against Jose Faustino Orellana-Castro is hereby

dismissed without prejudice.

       IT IS SO ORDERED this 13th day of April, 2010.




                                                    ___________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
